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                        IN UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

 In Re:                                                    Case No: 19-02764-jw

 Sand Castle South Timeshare Owners                        Chapter 11
 Association, Inc.,


                                                          NOTICE OF HEARING
                   Debtor.


  NOTICE OF MOTION AND MEMORANDUM FOR ORDER AUTHORIZING THE
     DEBTOR-IN-POSSESSION TO PROCEED WITH THE STEPS FOR THE
   TERMINATION OF THE SAND CASTLE SOUTH TIMESHARE OWNERSHIP
            PLAN PURSUANT TO S.C. CODE §27-32-520, ET SEQ.

        Sand Castle South Timeshare Owners Association, Inc. has filed papers with the Court in
this case seeking the Court’s authorization under 11 U.S.C. § 363(b)(1) to proceed with the steps
for termination of the Sand Castle South Timeshare Ownership Plan and the sale of the
condominiums in the timeshare regime, pursuant to S.C. Code §27-32-520, et seq.

      Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

      If you do not want the court to grant the relief sought, or you want the court to consider
your views on the Motion, then within (21) days of service of this notice, you or your attorney
must:

       File with the court a written response, return, or objection at:

             1100 Laurel Street
             Columbia, SC 29201

       Responses, returns, or objections filed by an attorney must be electronically filed in
ecf.scb.uscourts.gov.

      If you mail your response, return, or objection to the court for filing, you must mail it early
enough so the Court will receive it on or before the date stated above.

       You must also send a copy to:

          Julio E. Mendoza, Esquire
          Nexsen Pruet, LLC
          PO Box 2426
          Columbia, SC 29202

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      Attend the hearing scheduled to be heard on September 4, 2019, at 10:30 a.m. at the
United States Bankruptcy Court, King and Queen Building, 145 King Street, Room 225,
Charleston, SC 29401.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose
the relief sought in the Motion and may enter an order granting that relief.



 Date: July 18, 2019                      /s/ Julio E. Mendoza, Jr.
                                          (Signature of Attorney)
                                          Julio E. Mendoza, Jr. (#3365)
                                          NEXSEN PRUET, LLC
                                          1230 Main Street, Suite 700 (29201)
                                          PO Box 2426
                                          Columbia, South Carolina 29202
                                          Telephone: 803-540-2026
                                          Email: rmendoza@nexsenpruet.com

                                          and

                                          J. Ronald Jones, Jr. (#5874)
                                          NEXSEN PRUET, LLC
                                          205 King Street, Suite 400 (29401)
                                          PO Box 486
                                          Charleston, SC 29402
                                          Phone: (843) 720-1740
                                          rjones@nexsenpruet.com




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